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                                                             The Honorable MARSHA J. PECHMAN
 8
                              UNITED STATES DISTRICT COURT
 9                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
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     A.B., by and through her next friend               No. 14-cv-01178-MJP
11   CASSIE CORDELL TRUEBLOOD, et al.,
12                                     Plaintiffs,      (PROPOSED) ORDER APPROVING
                                                        PHASE 3 FINAL
13   v.                                                 IMPLEMENTATION PLAN

14   WASHINGTON STATE DEPARTMENT
     OF SOCIAL AND HEALTH SERVICES,
15   et al.,
16                         Defendants.

17            This matter comes before the Court through the Parties’ Joint Motion for Approval of the

18   Phase Three Implementation Plan. (Dkt. No. 1002.) Having considered their request, noting no

19   opposition by Plaintiffs’ Counsel or the Court Monitor, and otherwise being fully informed, the

20   Court ORDERS that the Phase 3 Final Implementation Plan is approved.

21            Dated this 14th day of August, 2023.

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                                                            A
                                                            MARSHA J. PECHMAN
                                                            United States Senior District Judge
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          ORDER APPROVING PHASE 3 FINAL                 1               ERROR! AUTOTEXT ENTRY NOT DEFINED.
          IMPLEMENTATION PLAN
          NO. 14-cv-01178-MJP
